   Case 3:17-cv-00072-NKM-JCH Document 106 Filed 11/15/17 Page 1 of 1 Pageid#: 495


            UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA


Elizabeth Sines, et al.


                                           Plaintiff

                                                                  VS.              Case No: 3:17CV00072
Jason Kessler, et al.


                                          Defendant
                                                AFFIDAVIT OF SERVICE

I, Jennifer McCracken, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs'
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 11/03/2017 at 11:12 AM, I served Traditionalist Worker Party c/o Thomas Conrad Buhls, Registered Agent with the
Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs' Jury Demand at 2517 Federal Road, Benson, North
Carolina 27504 by serving Thomas Conrad Buhls, Registered Agent, authorized to accept service.

Thomas Conrad Buhls is described herein as:

Gender: Male Race/Skin: White Age: 40 Weight: 160 Height: 5'10" Hair: Brown Glasses: No



I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.




      ii1/4e10
 Executed On


                                                                                                                         Client Ref Number:N/A
                                                                                                                            Job #: 1535249
              Capitol Process Services, Inc. 1 1827 18th Street, NW, Washington, DC 20009 1(202) 667-0050
